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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA          )
                                  )
    v.                            )      CRIMINAL ACTION NO.
                                  )        2:94cr62-T
TERRY MITCHELL                    )            (WO)

                                ORDER

    It is ORDERED that defendant Terry Mitchell’s motion

to set aside judgment (Doc. No. 1866) is denied.                    The

undersigned    never     recused      himself     because      of   any

“conflict of interest.”         Judge Alaimo was assigned this

case merely because of the court’s heavy criminal docket

at the time.     The undersigned is not related in any way

to any of the parties or their attorneys.

    DONE, this the 13th day of October, 2005.



                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
